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                           LINITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA                             }cT 2 2 2015
                                 ASHEVILLE DIVISION
                                                                                     u.s.ffiffi*
                                     DOCKET NO. 1:15CR20

UNITED STATES OF AMERICA.                         )
                                                  )
                       Plaintiff,                 )
                                                  )         CONSENT ORDER AND
               v.                                 )       JUDGMENT OF FORBEITURE
                                                  )
1) ROBERT J. ODEAR,                               )
                                                  )
                       Defendant.                 )


         WHEREAS, the def'endant, ROBERT J. ODEAR, has entered into a plea agreement
(incorporated by reference herein) with the United States and has voluntarily pleaded guilty
pursuant to Federal Rule of Criminal Procedure 1 1 to one or more criminal offenses under which
forfeiture may be ordered;

         WHEREAS, the defendant and the United States stipulate and agree that the property
described below constitutes property derived from or traceable to proceeds of the defendant's
offense(s) herein; property involved in the otlbnses, or any property traceable to such property;
and/or propefiy used in any manner to facilitate the commission of such offense(s); or substitute
property for which under 2l U.S.C. S 853(p) and Fed. R. Crim. P.32.2(e); and is therefore subject
to forfeiture pursuant to 16 U.S.C. $ a70gg(b), provided, however, that such forfeiture is subject to
any and all third party claims and interests, pending tinal adjudication herein;

        WHEREAS, the defendant herein waives the requirements of Federal Rules of Criminal
Procedure 32.2 and 43(a) regarding notice of the forfeiture in the charging instrument,
announcement of the fbrfeiture at sentencing, and incorporation of the fort'eiture in the judgment
against defendant;

        WHEREAS, pursuant to Federal Rules of Criminal Procedure 32.2(b)(l) & (c)(2), the
Court finds that there is the requisite nexus between the property and the offense(s) to which the
defendant has pleaded guilty and that the defendant has a legal or possessory interest in the
property;

        WHEREAS, the defendant withdraws any claim previously submitted in response to an
administrative forfeiture or civil forfeiture proceeding conceming any of the property described
below. If the defendant has not previously submitted such a claim, the defendant hereby waives all
right to do so. If any administrative forfeiture or civil forfeiture proceeding concerning any of the




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property described below has previously been stayed, the defendant hereby consents to a lifting of
the stay and consents to forf'eiture;

                                                                                                     is
or                                                                                      /e
        NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

        The following property is forfeited to the United States:

        1) one Hardeebilt trailer, VIN: 8 HB9TLI2AX4X104960' seized by the United States
           Forest Service on or about September 24' 2012;
        2) one red Kawasaki 360 ATV, VIN: JKBVFHA196B553940, seized by the United
           States Forest Service on or about September 24, 2012.

        The United States Marshal and/or other property custodian for the investigative agency is
authorized to take possession and maintain cuslody ofthe above-described tangible prope(y.

        If and to the extent required by Fed. R. Crim. P. 32.2(bX6), 2l U.S.C. S 853(n), and/or
other applicable law, the United States shall publish notice and provide direct written notice ofthis
forfeiture.

        Any person, other than the defendant, asserting any legal interest in the property may,
within thirty days ofthe publication ofnotice or the receipt ofnotice, whichever is earlier, petition
the court for a hearing to adjudicate the validity of the alleged interest.

       Pursuant to Rule 32.2(b)(3) ofthe Federal Rules of Criminal Procedure. upon entry ofthis
Order of Forfeiture, the United States Attomey's Office is authorized to conduct any discovery
needed to identify, locate or dispose of the property, including depositions, intenogatories,
requests for production of documents and to issue subpoenas, pursuant to Rule 45 ofthe Federal
Rules of Civil Procedure.

        Following the Court's disposition of all timely petitions filed, a final order of forfeiture
shall be entered, as provided by Fed. R. Crim. P. 32.2(c)(2).lf no third party files a timely petition,
this order shall become the final order andjudgment of forfeiture, as provided by Fed. R. Crim. P.
32.2(c)(2), and the United States shall have clear title to the property, and shall dispose of the
property according to law. Pursuant to Rute 32.2(b)(4XA), the defendant consents that this order
shall be final as to defendant upon filing.




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SO AGREED:




  CHARD LEE ED'WARDS
Assistant United States Attorney




            J. ODEAR
Defendant




       Signed this 7-L day of




                                   -estern
                                             District of North Carolina




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